                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                               ORLANDO DIVISION

NUVASIVE, INC.                     )
                                   )
                                   )
      Plaintiff,                   )
                                   )
VS                                 )                 Case No.: 6:17-cv-2206-Orl-41GJK
                                   )
ABSOLUTE MEDICAL , LLC, GREG       )
SOUFLERIS, and DAVE HAWLEY         )
                                   )
      Defendant.                   )
___________________________________ )

     DEFENDANT ABSOLUTE MEDICAL, LLC’S UNOPPOSED MOTION TO
     COMPEL ARBITRATION AND STAY COURT PROCEEDINGS PENDING
         ARBITRATION AND MEMORANDUM OF LAW IN SUPPORT

       COMES NOW Defendant, ABSOLUTE MEDICAL, LLC (“Absolute Medical”), by

and through its undersigned counsel, and hereby files its Motion to Compel Arbitration and

Stay Proceedings Pending Arbitration and Memorandum of Law in Support (“Motion for

Arbitration”), pursuant to Section 12.02 of the Exclusive Sales Representative Agreement

(the “Sales Agreement”) dated January 1, 2017, between NUVASIVE, INC (“Plaintiff” or

“NuVasive”) and Absolute Medical.

       STATEMENT OF RELEVANT FACTS AND PROCEDURAL POSTURE

       Absolute Medical is in the business of selling medical products and devices on behalf

of distributors to hospitals and doctors throughout the State of Florida. (Declaration of Greg

Soufleris (“Soufleris Dec.”) at ¶ 2). NuVasive is a medical device company that designs,

develops, and markets products for the surgical treatment of spine disorders. (NuVasive

Complaint at ¶ 15). Absolute Medical and NuVasive entered into a Sales Agreement on



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January 1, 2017, for Absolute Medical to solicit orders and promote NuVasive products

within a certain territory in Florida, in which Absolute Medical would receive commissions

from the sales. (Soufleris Dec. at ¶ 4).

       On December 29, 2017, NuVasive filed a Complaint in the United States District

Court for the Middle District of Florida against Absolute Medical, Greg Soufleris

(“Soufleris”), and Dave Hawley (“Hawley”) (collectively, “Defendants”) due to an alleged

breach of the Sales Agreement for (1) Breach of Contract – Injunctive Relief against

Absolute Medical, (2) Breach of Contract – Damages/Arbitration against Absolute Medical,

(3) Conversion against Hawley, (4) Statutory Individual Liability against Soufleris, (5)

Piercing the Corporate Veil against Soufleris, (6) Florida Deceptive and Unfair Trade

Practices Act against all Defendants, and (7) Tortious Interference with Business

Relationships against Soufleris. (NuVasive Complaint). On February 15, 2018, Absolute

Medical filed a compulsory counterclaim against NuVasive for its breach of the Sales

Agreement due to NuVasive’s failure to pay Absolute Medical owed sales commissions (the

“Counterclaim”). (Absolute Medical Answer at 18).

       Further, on February 6, 2018, NuVasive took the extraordinary step of petitioning this

Court for an affirmative injunction to bind Absolute Medical to four (4) years of servitude by

filing a Motion and Incorporated Memorandum of Law for Preliminary Injunction (“Motion

for Injunction”) against Absolute Medical. (DE at 19). On February 26, 2018, Absolute

Medical filed its Response and Memorandum of Law in Opposition to NuVasive’s Motion

for Preliminary Injunction (“Response to Motion for Injunction”) because the Sales

Agreement, as a personal services contract, cannot be enforced through specific performance




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or injunction. (DE at 38). This Court has yet to rule on NuVasive’s Motion for Injunction.

       Notwithstanding the pending Motion for Injunction, Absolute Medical is entitled to

enforce the binding arbitration clause in the Sales Agreement and is requesting this Court to

compel arbitration as to Count II of the Complaint for the breach of contract claim against

Absolute Medical and for the Counterclaim against NuVasive for unpaid commissions. The

Sales Agreement contains a binding arbitration clause that requires the parties to arbitrate any

“controversy, dispute or question” in connection with the Sales Agreement, including an

alleged breach. Section 12.02 of the Sales Agreement states, in relevant part, as follows:

               Section 12.02 Dispute Resolution. Any controversy, dispute or question
       arising out of or in connection with this [Sales] Agreement, or related to the
       interpretation, performance or non-performance of this [Sales] Agreement or any
       breach hereof, shall be fully and finally resolved by binding arbitration conducted
       before a single, neutral arbitrator from AAA in San Diego, California pursuant to the
       then current commercial dispute rules of the AAA (which can be accessed at
       www.adr.com), provided, however, that if the dispute or claim involves a Party
       seeking at least one million dollars ($1,000.000) from the other Party, then arbitration
       will be conducted by a panel of three arbitrators from AAA, with one arbitrator
       chosen by each of the Parties and the third appointed by the other two arbitrators. . .
       Any judgment rendered by the arbitrator(s) may be entered by any court of competent
       jurisdiction. . .By executing this [Sales] Agreement, the Parties are both waiving the
       right to a jury trial with respect to any such disputes. In all other jurisdiction the
       Parties shall spilt the cost of the arbitrator, forum and filings fees equally. Each party
       shall bear its own respective attorneys’ fees and all other costs, unless otherwise
       provided by law and awarded by the arbitrator(s). . . .


(Soufleris Dec. ¶ 3, Exhibit A). Accordingly, the parties are required to submit to binding

arbitration for all claims arising out of the contract and, therefore, Absolute Medical requests

this Court grant its Motion for Arbitration as to Count II of the Complaint and the

Counterclaim and stay the proceedings as to Counts III, IV, V, VI and VII while arbitration is




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pending.1

                                                ARGUMENT

         The parties are required to submit to arbitration for Count II of the Complaint and

Absolute Medical’s Counterclaim because the Sales Agreement contains an enforceable and

binding arbitration clause for any disputes “arising out of or in connection with” the Sales

Agreement. Under Delaware law2, arbitration agreements are enforceable. Title 10, Section

5701, of the Delaware Code, states as follows:

         A written agreement to submit to arbitration any controversy existing at or
         arising after the effective date of the agreement is valid, enforceable and
         irrevocable, save upon such grounds as exist at law or in equity for the
         revocation of any contract, without regard to the justiciable character of the
         controversy, and confers jurisdiction on the Chancery Court of the State to
         enforce it and to enter judgment on an award. In determining any matter
         arising under this chapter, the Court shall not consider whether the claim with
         respect to which arbitration is sought is tenable, or otherwise pass upon the
         merits of the dispute. This chapter also applies to arbitration agreements
         between employers and employees or between their respective representatives,
         except as otherwise provided in § 5725 of this title (emphasis added).

         Further, a party is entitled to a stay of the proceedings while arbitration is pending.

Title 10, Section 5703, of the Delaware Code, states as follows:

         (a) Proceeding to compel arbitration — A party aggrieved by the failure of
         another to arbitrate may file a complaint for an order compelling arbitration.
         Where there is no substantial question whether a valid agreement to arbitrate
         in this State was made or complied with the Court shall order the parties to
         proceed with arbitration. Where any such question is raised it shall be tried
         forthwith in said Court. If an issue referable to arbitration under the alleged
         agreement is involved in an action or proceeding pending in the Court of
         Chancery in the State the application shall be made therein. If the application
         is granted, the order shall operate to stay the pending or any subsequent
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  Absolute Medical is not attempting to sidestep NuVasive’s ability to seek injunctive relief pursuant to the Sales
Agreement and, therefore, is specifically not seeking arbitration or a stay as to Count I of the Complaint.
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  The Sales Agreement is governed by and construed in accordance with the laws of the state of Delaware
pursuant to the choice of law clause contained in section 12.01 of the Sales Agreement. (Soufleris Dec. ¶ 3,
Exhibit A).




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       action, or so much of it as is referable to arbitration. Any action or proceeding
       in any other court of the State, involving an issue subject to arbitration, shall
       be stayed if an order for arbitration or a complaint or an application therefor
       has been made in the Court of Chancery under this chapter or, if the issue is
       severable, the stay may be with respect thereto only (emphasis added).

       The arbitration clause in the Sales Agreement is valid, enforceable and irrevocable

under Delaware law. Count II of the Complaint clearly “arises out of” the Sales Agreement

because NuVasive is pursuing damages against Absolute Medical for an alleged breach of the

Sales Agreement. The Counterclaim also clearly “arises out of” the Sales Agreement as

Absolute Medical is pursuing damages against NuVasive for breach of the Sales Agreement

due unpaid sales commissions.

       The remaining counts (except Count I) should be stayed pending the outcome of

arbitration because they are inextricably intertwined with the breach of contract claims by

NuVasive and Absolute Medical, such that resolution of those claims in arbitration will

directly and materially affect the continued litigation of the remaining claims. Specifically,

NuVasive claims that Soufleris is liable for Absolute Medical’s purported breach of the Sales

Agreement under (1) Florida’s Limited Liability Act (Count IV), (2) by piercing of the

corporate veil of Absolute Medical (Count V), (3) Florida Deceptive and Unfair Trade

Practices Act (“FDUTPA”), and (4) for tortious interference with a business relationship

(Count VII). (Complaint ¶¶ 61-82). These claims are substantially dependent on Absolute

Medical’s liability, if any, under the Sales Agreement since Soufleris, as principal of Absolute

Medical, cannot be held liable without Absolute Medical being liable. As such, the claims

against Soufleris for Absolute Medical’s purported breach should be stayed since they are not

only premature, but they are inseparable from the breach of contract claims against Absolute




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Medical. Additionally, NuVasive’s claims against Hawley for a purported (1) conversion of

NuVasive’s medical instruments (Count III) and (2) violation of FDUTPA are dependent on

an alleged employment agreement between Hawley and Absolute Medical, which is directly

related to the Sales Agreement between NuVasive and Absolute Medical and without which

there would likely be no claim. (Complaint ¶¶ 57-60; 72-77). NuVasive is claiming that

Soufleris and Hawley have certain obligations not to compete and not to solicit pursuant to

the Sales Agreement and other purported employment agreements. As such, if and when the

arbitrator finds that the noncompetition and nonsolicitation clauses in the Sales Agreements

are unenforceable against Soufleris and Hawley, it will likely resolve the remaining claims.

Thus, resolution of the breach of contract claims will directly affect whether any causes of

action will continue to exist against Soufleris and Hawley. Further, the risk of engaging in

dual proceedings by arbitrating some claims and continuing litigation on the others is

significant as it could result in conflicting rulings; staying the current proceedings until the

conclusion of arbitration would be in the best interest of the parties and the Court so as not to

waste time and judicial resources.

       Therefore, the parties are required to submit to arbitration to resolve Count II of the

Complaint and the Counterclaim, and Counts III, IV, V, VI, and VII should be stayed until the

conclusion of the arbitration.

                                 GOOD FAITH CERTIFICATION

       Counsel for Absolute Medical has conferred with counsel, Diana N. Evans, for

NuVasive in a good faith effort to resolve the issues raised by this Motion for Arbitration and

counsel is unopposed to the relief sought in this Motion.




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                                      RELIEF REQUESTED

       WHEREFORE, Defendant ABSOLUTE MEDICAL, LLC, has shown that is entitled

to enforce the arbitration clause in the Sales Agreement. Accordingly, Absolute Medical

respectfully requests this Court grant its Motion to Compel Arbitration as to Count II of the

Complaint and Absolute Medical’s Counterclaim and to stay proceedings in this Court as to

Counts III, IV, V, VI and VII of the Complaint while arbitration is pending, and for other such

relief this Court deems just and proper.

       Dated: March 12, 2018

                                            /s/ Chantal M. Pillay
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                            CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 12th day of March, 2018, I electronically filed the
foregoing with the Clerk of the Court via the CM/ECF system, which will send a notice of
electronic filing to all counsel of record and CM/ECF participants.

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